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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

_____________________________________________

SCOTTSDALE CAPITAL ADVISORS
CORPORATION, ET AL.,
      Plaintiffs,
v.                                                     Case No.: 16-cv-860-DKC

FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.,
      Defendant.
_____________________________________________




     MOTION OF THE SECURITIES AND EXCHANGE COMMISSION FOR LEAVE TO PARTICIPATE
              AS AMICUS CURIAE IN SUPPORT OF FINRA’S MOTION TO DISMISS




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        The Securities and Exchange Commission (the “Commission”) respectfully requests permission

to participate as amicus curiae in this case by filing a brief in support of Financial Industry Regulatory

Authority’s (“FINRA’s”) argument in its motion to dismiss that this Court lacks subject matter

jurisdiction over plaintiffs’ suit.

        The Commission has primary responsibility for administering the Exchange Act as well as the

other federal securities laws. Plaintiffs’ complaint and motion for preliminary and permanent injunctive

relief ask this Court to ignore the comprehensive scheme set forth by Congress in the Securities

Exchange Act of 1934, 15 U.S.C. §§ 78a, et seq. (“Exchange Act”), for administrative and judicial

review of disciplinary proceedings initiated by FINRA. The Commission requests leave to participate as

amicus to express its views on whether that statutory scheme should be interpreted to preclude subject

matter jurisdiction over plaintiffs’ suit. The Commission has consulted with counsel for each party.

FINRA consents to this motion. Plaintiffs do not oppose this motion.1

        A memorandum of law and a proposed order are attached.




1
  Because plaintiffs raise substantive arguments before this Court that they are also raising in FINRA
disciplinary proceedings subject to review by the Commission, prudential concerns counsel against our
taking a position on the merits of those claims before the Commission has had the opportunity to rule on
them in the first instance. That this brief does not address the merits of these claims therefore should not
be interpreted as providing the Commission’s position as to their validity.
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                                         Respectfully submitted,

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April 11, 2016
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2016, I electronically filed the foregoing brief with the Clerk of

the Court for the United States District Court for the District of Maryland by using the CM/ECF system.

Service on plaintiffs was accomplished on the same date through the CM/ECF system.


                                                  /s/ Dominick V. Freda
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